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                                                                                                       Friday, 05 June, 2020 03:06:05 PM
AO 91 (Rev. 11/11) Crim inal Complai nt                                                                     Clerk, U.S. District Court, ILCD

                                      UNITED STATES DISTRICT COURT
                                                                       for the
                                                           Central District of Illinois

                  United States of America                                )
                                 V.                                       )
                                                                          )      Case No.
                                                                          )                  20-MJ- 7081
                                                                          )
                     SHAMAR N. BETTS                                      )
                                                                          )
                            Def endanl(s)


                                                      CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                         May 31, 2020                  in the county of           Champaign             in the
        Central         District of _ _ __ll_lin_o_is_ _ __ , the defendant(s) violated:

             Code Section                                                           Offense Description
18 U.S.C. § 2101                                     Inciting a riot




          This criminal complaint is based on these facts:

SEE ATTACHED AFFIDAVIT.




          ~ Continued on the attached sheet.
                                                                                    s/Andrew M. Huckstadt

                                                                                                                              \
                                                                                          Andrew M. Huckstadt, Special Agent, FBI
                                                                                                    Printed name and title
                                            by e-mail.
                              in 
Sworn to before me and signed         
                                 my presence.   
   Attested to by telephone under oath.                                                       s/Eric I. Long

Date:             06/05/2020
                                                                                                      Judge 's si[ nalure

City and state:                             Urbana , Illinois                          Eric I. Long, United States Magistrate Judge
                                                                                                    Printed name and title
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                                     AFFIDAVIT


       I, Andrew M. Huckstadt, being first duly sworn on oath, depose and state as

follows:

                                    INTRODUCTION

       1.     I am a Special Agent with the Federal B1ueau of Investigation (FBI),

currently assigned to the Champaign, Illinois, Resident Agency of the Springfield,

Illinois, FBI Field Office. Previously, I was assigned to the Memphis, Tennessee, FBI

Field Office. I have been a Special Agent with the FBI since August 2008. Through my

employment with the FBI, I have investigated numerous criminal violations relating to

child exploitation, violent incident crime, kidnapping, drug trnfficking, public

corruption, civil rights and fraud. I h ave received b·aining in these areas and have had

the opportunity to investigate, and assist in the investigation of, these and other

offenses - to include having been the affiant on numerous search warrants, arrest

warrants, and criminal complaints.

       2.     I am also a member of the FBI Joint Terrorism Task Force. I investigated

domestic terrorism matters while at the Memphis, Tennessee, FBI Field Office. I have

been assigned to work domestic terrorism matters since December of 2019.

       3.     This affidavit is made in support of an arrest warrant and criminal

complaint charging SHAMAR N. BETTS (DOB:                    ) (hereinafter referred to as

"BETTS") with inciting a riot in violation of Title 18, United States Code, Section 2101.

       4.     The statements contained in this affidavit al'e based in part on my own
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investigation, information provided by other law enforcem ent officers, information

provided by other wib1esses, and my experience and background as a law enforcem ent

officer. The information contained in this affidavit is not an exhaustive accow1t of

everything I know about this case. Rather, it is only the facts that I believe are necessru.y

to establish probable cause to issue the requested wru.Tant. If called as a wi1J:1ess to

testify, I would testify as follows.

                             STATUTORY AUTHORITY and TERMS

       5.      This investigation concerns violations of Title 18, United States Code,

Section 2101, relating to the intent to incite a riot or to orgru.uze, promote, encourage,

pru.ticipate in, or canyon a rio t.

               a.     18 U.S.C. § 2101prohibits anyone from b·aveling in interstate or
                      foreign commerce, or using any facility of interstate of foreign
                      commerce, including but not limited to the mail, telegraph,
                      telephone, radio, or television with intent

                      1.         To incite a riot; or

                      ii.        To orgru.1ize, promote, encourage, participate in, or cru.-ry on
                                 a riot; or

                      iii.       To commit any act of violence in furtherance of a riot; or

                      iv.        To aid or abet any person inciting or participating in or
                                 carrying on a riot or committing ru.1y act of violence in
                                 furtherance of a riot;

                      v.         And who either during the course of any such b:avel or use
                                 or thereafter performs or attempts to perform ru.1y other
                                 overt act for any purpose specified above.

              b.      The internet is a facility of interstate commerce.

                      11
              c.           Riot 11 means a public distmbance involving (1) an act or acts of

                                                  ·2
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                     violence by one or more persons part of an assemblage of three or
                     more persons, which act or acts shall constitute a clear and present
                     danger of, or shall result in, damage or injmy to the person of any
                     other individual or (2) a threat or tlu·eats of the commission of an
                     act or acts of violence by one or more persons part of an assemblage
                     of three or more persons having, individually or collectively, the
                     ability of immediate execution of such tlU'eat or tlu·eats, where the
                     performance of the tlu·eatened act or acts of violence would
                     constitute a clear and present danger of, or would result in, damage
                     or injury to the property of any other person or to the person of any
                     other individual.

              d.    The term "to incite a riotU, or 11to organize, promote, encom·age,
                    participate in, or canyon a riot", includes, but is not limited to,
                    urging or instigating other persons to riot, but shall not be deemed
                    to mean the mere oral or written (1) advocacy of ideas or
                    (2) expression of belief, not involving advocacy of any act or acts of
                    violence or assertion of the rightness of, or the right to commit, any
                    such act or acts.

              e.    Facebook is a social networking website/ application allowing users
                    to post and view videos and pictures, send private messages, join
                    groups with common interests, and add friends.

             f.     Facebook also has a feature called 11Facebook Live". Facebook Live
                    allows a user to post a live feed video to their page allowing other
                    users to view the live feed and also post comments that are
                    viewable in real time.


                                  PROBABLE CAUSE

       6.    1brnugh the performance of my official duties as a Special Agent with the

FBI, I have become acquainted with the following facts. On May 31, 2020 at approximately

10:31 a.m., Champaign Police Department Intelligence Analyst (IA) Sarah Bm·gener

observed a Facebook post made by Facebook user "Shamai· Bett1s11 (Facebook URL:

https: / / www.facebook.com/ shamai·.betts.144/UserID#l00044203782670). TI1e

post, which was preserved by IA Burgener, stated as follows (with the exclusion of several

                                            3
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emoji characters): "I'm just the messenger We're literally sitting on our ass watching the ·

whole cow1try and even others fight for our black rights Y'all think we don't suffer

through inequality here EVERYDAY We gotta put Champaign/Urbana on the map mfs

gone hear and fear us too. SLIDE let's get busy Justice for George FUCK12." A copy of this

post is attached hereto as Exhibit A

       7.     This post was accompanied by a flyer advocating for a riot at Market Place

Mall (located at 2000 N. Neil Street, Champaign, Champaign Cow1ty, in the Central

District of Illinois). The flyer further contained a meeting time of 3 p.m. and specific ·

instructions to "Bring friends & family, posters, bricks, bookbags etc. 11 as well as a

statement indicating "After the mall we hitting the whole PROSPECT & NEIL." These

words were overlaid on a stock image of a riot including a bw·ning vehicle. A copy of this

post is attached hereto as Exhibit B.

       8.     Officers of the Champaign Police Department responded to the area to

observe the protest and respond to any acts of violence. At approximately 2:36 p.m., a

group of approximately 50 to 75 people were reported gathering at the mall. The group

continued to grow in size. At approximately 3:12 p.m. the group began breaking out

windows at businesses located in the mall and looting merchandise from within.

       9.     Facebook user "Sha.mar Bett1s 11 posted a Facebook Live video during this

time stating, "Look what a nigga just started .. .look what a nigga just started. We out

here... we out here ... we out here... we out here. All ya'll talking that shit under my

post.. . we out here. Fuck that I needs that. .. we out here. " The user can also been seen

carrying multiple items, to include numerous pairs of khaki pants with Old Navy tags on

                                                4
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them. Although the user's face cannot be seen on the ~deo, at one point his left leg and

foot are visible and he can been seen wearing blue jogger-style pants and black shoes

identical to those depicted in a Facebook photograph posted by 11Shamar Bett's" on May

31, 2020 at 1:29 p.m.

       10.    Additional law enforcement resources were deployed to the Market Place

Mall to respond to the riot and attempt to conh·ol the group, which continued to grow in

size and began vandalizing and/ or looting other businesses in the area including

Gordman's, Kohls and 1J Maxx. The group then moved on to the shopping portion of N.

Prospect Avenue and continued vandalizing and/or looting numerous stores in the area,

to include Meijer, Best Buy, Shoe Carnival and Walmart. This activity continued

tlu-oughout the night and into tl1e early morning homs of June 1, 2020. By the end of the

night, approximately 50 businesses in the area had been vandalized and/ or looted.

       11.    Champaign Police Department investigators searched local law enforcement

databases and obtained a known photograph of BETTS. The known photograph of BETTS

appeared to be the same individual depicted in photographs on 11Shamar Bett's11 Facebook

page. In addition, a known photograph of BETTS obtained from the Urbana Park District

Forest Preschool Handbook appeared to be the same individu al depicted on 11Shamru:

Bett's" Facebook page as well as the known photograph of BETTS.

       12.    On May 31, 2020 at approximately 4:30 p.m., Champaign Police Department

Detective Corey Phenicie obtained video footage of the group's looting activities. This

video was recorded live and also was available later online. At approximately the 1

minute and 41 second mark of tl1e video, an individual matching BETTS' description can

                                             5
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be seen exiting the Old Navy store located at the Market Place Mall with a handful of

clothing items to include what appear to be multiple pairs of khaki pants. The clothing

worn by this individual apperu:s to be the same as the clothing worn by the user ·depicted

in the aforementioned Facebook Live video.

       13.    Champaign Police Department investigators submitted a preservation

request to Facebook on June 1, 2020 after the initial post by 11Shamar Bett's" inciting the riot

apperu·ed to have been deleted. ~ollowing the initial referenced post, another post was

found on "Shamai· Bett1s 11 account, whicl1 reads as follows (with the exclusion of several

emoji chai·acters): "They nyna portray me to be some type of monster yet I'm a fucking

hero if we don't stai1d for something we'll fall_for ai1ything love my black people #J4G. 11




                                               6
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       14.    On the evening of June 1, 2020, Champaign Police Department obtained a

state arrest warrant for B~TTS charging.him with Burglaiy in violation of Illinois state law,

720 ILCS 5/19-l(a). On the morning of June 5, 2020, Betts was located by the United States

Mai·shals Service in the State of Mississippi.



       FURTHER AFFIANT SAYETH NOT.



                                                     s/Andrew M. Huckstadt


                                                     Special A~ t Andre~ M~Huckst~dt-
                                                     Federal Bureau of Investigation
                                                     Champaign, Illinois



       Subscribed ai1d sworn to before me this 5th day of June 2020.
        By e-mail and attested to
        by telephone.                         s/Eric I. Long


                                                     ERICI. LONG
                                                     United States Magistrnte Judge




                                                 7
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                                  EXHIBIT A

      ,1   Verizon LTE                 10:31 AM          * 37% U      •

                         Shamar Sett's
           <             43 mins · 0
                                                                •••


       I'm just the messenger . , We're literally sitting on our
       ass watching the whole country and even others fight
       for our black rights     & Y'all think we don't suffer
       through inequality here EVERYDAY           .I.
                                         We gotta put
       Champaign/Urbana on the map mfs gone hear and
       fear us too. SLIDE let's get busy tu !! Justice for
       George FUCK12. ;




           BlacklivesMatter
           RIOT @MarketPlace Mall

        Time: 3




                 Write a comment...

                                        ~
                                        ~




                                          8
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                           EXHIBITB




                BlacklivesMatter
            RIOT @MarketPlace Mall
          Time: 3


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                                         '




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      ,:.,, .
        Bring friends&
       family, posters,
            bricks,
        bookbags etc.




                                9
